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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                       Plaintiff,                )                    4:08CR3078
                                                 )
               v.                                )
                                                 )
PEEAIR SHAUN WARD,                               )      TENTATIVE FINDINGS REGARDING
                                                 )       PRESENTENCE INVESTIGATION
                       Defendants.               )                 REPORT
                                                 )


       The defendant has objected to paragraphs 34, 36, 40, 41, 42, 53, 54, and 84, all of which

have to do with his criminal history, including classification as a career offender. Unless there is

resolution of those matters by agreement, an evidentiary hearing will be necessary. The

evidentiary hearing will be scheduled for October 29, 2008, at the time of the sentencing. I

tentatively find that all paragraphs of the Presentence Investigation Report, other than those now

objected to, are true and accurate. If evidentiary testimony is expected, paragraph 6 of the Order

on Sentencing Schedule must be complied with on or before October 20, 2008, unless that time

is extended by order of the court.

       Dated October 16, 2008.

                                        BY THE COURT

                                        s/ Warren K. Urbom
                                        United States Senior District Judge
